                                            UNITED STATES BANKRUPTCY COURT
                                                  DISTRICT OF ARIZONA
                                                    TUCSON DIVISION

               In re: VARGAS SR., JOHNNY C.                                                    § Case No. 4:08-06956-EWH
                      VARGAS, ANGELA E.                                                        §
                                                                                               §
         Debtor(s)                                                                             §

                                              TRUSTEE'S FINAL REPORT (TFR)

                 The undersigned trustee hereby makes this Final Report and states as follows:

               1. The debtor filed a petition under Chapter 7 of the United States Bankruptcy Code on
        June 11, 2008. The undersigned trustee was appointed on June 11, 2008.


                   2. The trustee faithfully and properly fulfilled the duties enumerated in 11 U.S.C. §704.


                 3. All scheduled and known assets of the estate have been reduced to cash, released to
        the debtor as exempt property pursuant to 11 U.S.C. § 522, or have been or will be abandoned
        pursuant to 11 U.S.C. § 554. An individual estate property record and report showing the
        disposition of all property of the estate is attached as Exhibit A.

                   4. The trustee realized the gross receipts of                   $            2,404.06

                                     Funds were disbursed in the following amounts:
                                     Administrative expenses                                          0.00
                                     Payments to creditors                                            0.00
                                     Non-estate funds paid to 3rd Parties                             0.00
                                     Payments to the debtor                                           0.00
                                                                         1
                                     Leaving a balance on hand of                  $            2,404.06
        The remaining funds are available for distribution.

                   5. Attached as Exhibit B is a cash receipts and disbursements record for each estate bank
        account.




               1 The balance of funds on hand in the estate may continue to earn interest until disbursed. The interest
 earned prior to disbursement will be distributed pro rata to creditors within each priority category. The trustee may
 receive additional compensation not to exceed the maximum compensation set forth under 11 U.S.C. § 326(a) on
 account of the disbursement of the additional interest.

       UST Form 101-7-TFR (9/1/2009)



Case 4:08-bk-06956-EWH                   Doc 39 Filed 07/05/10 Entered 07/05/10 13:22:29                                  Desc
                                         Main Document    Page 1 of 10
             6. The deadline for filing claims in this case was 07/31/2009. All claims of each
     class which will receive a distribution have been examined and any objections to the allowance
     of claims have been resolved. If applicable, a claims analysis, explaining why payment on any
     claim is not being made, is attached as Exhibit C .

              7. The Trustee's proposed distribution is attached as Exhibit D .

             8. Pursuant to 11 U.S.C. § 326(a), the maximum compensation allowable to the trustee is
     $601.02. To the extent that additional interest is earned before case closing, the maximum
     compensation may increase.

             The trustee has received $0.00 as interim compensation and now requests the
     sum of $601.02, for a total compensation of $601.02. In addition, the trustee
     received reimbursement for reasonable and necessary expenses in the amount of $0.00
     and now requests reimbursement for expenses of $38.54, for total expenses of
     $38.54.

             Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the
     foregoing report is true and correct.

     Date: 04/22/2010               By:/s/Gayle E. Mills
                                       Trustee




     STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
     Act exemption 5 C.F.R. §1320.4(a)(2) applies.




     UST Form 101-7-TFR (9/1/2009)



Case 4:08-bk-06956-EWH            Doc 39 Filed 07/05/10 Entered 07/05/10 13:22:29                              Desc
                                  Main Document    Page 2 of 10
                                                                                                                                                                               Exhibit A


                                                                                        Form 1                                                                                Page: 1

                                               Individual Estate Property Record and Report
                                                                Asset Cases
Case Number: 4:08-06956-EWH                                                                     Trustee:         (240310)    Gayle E. Mills
Case Name:          VARGAS SR., JOHNNY C.                                                       Filed (f) or Converted (c): 06/11/08 (f)
                    VARGAS, ANGELA E.                                                           §341(a) Meeting Date:        07/11/08
Period Ending: 04/22/10                                                                         Claims Bar Date:             07/31/09

                                  1                                             2                          3                       4                  5                   6

                      Asset Description                                   Petition/               Estimated Net Value          Property           Sale/Funds         Asset Fully
           (Scheduled And Unscheduled (u) Property)                     Unscheduled          (Value Determined By Trustee,    Abandoned           Received by     Administered (FA)/
                                                                           Values               Less Liens, Exemptions,       OA=§554(a)           the Estate      Gross Value of
Ref. #                                                                                              and Other Costs)          DA=§554(c)                          Remaining Assets

 1         RESIDENCE: SAN MANUEL                                              161,000.00                            0.00         DA                        0.00                    FA

 2         PROPERTY: 929 WEBB SAN MANUEL AZ                                   150,000.00                            0.00         DA                        0.00                    FA
             Fully liened in excess of value

 3         Financial accounts, financial institution shares                          40.00                          0.00         DA                        0.00                    FA

 4         Household goods and furnishings                                       3,940.00                           0.00         DA                        0.00                    FA

 5         Household goods and furnishings                                          400.00                          0.00         DA                        0.00                    FA

 6         Wearing apparel                                                          250.00                          0.00         DA                        0.00                    FA

 7         Furs and jewelry                                                         450.00                          0.00         DA                        0.00                    FA

 8         Furs and jewelry                                                          60.00                          0.00         DA                        0.00                    FA

 9         Furs and jewelry                                                          60.00                        60.00          DA                        0.00                    FA
             misc. jewelry

10         Autos, trucks, trailers, other vehicles, access.                    20,048.00                            0.00         DA                        0.00                    FA
             2004 Nissan Armada

11         Autos, trucks, trailers, other vehicles, access.                      9,130.00                           0.00         DA                        0.00                    FA
             2002 Ford F150

12         TAX REFUNDS (u)                                                      Unknown                         2,403.00                               2,403.00                    FA
             net BK portion of 2008 tax refunds

 Int       INTEREST (u)                                                         Unknown                             N/A                                    1.06               Unknown

 13       Assets         Totals (Excluding unknown values)                    $345,378.00                      $2,463.00                              $2,404.06                 $0.00



       Major Activities Affecting Case Closing:

       Initial Projected Date Of Final Report (TFR):          July 25, 2009                       Current Projected Date Of Final Report (TFR):     March 25, 2010




            Case 4:08-bk-06956-EWH                                  Doc 39 Filed 07/05/10 Entered 07/05/10 Printed:
                                                                                                            13:22:2904/22/2010 12:35
                                                                                                                                Desc PM                                         V.12.06
                                                                    Main Document    Page 3 of 10
                                                                                                                                                                                 Exhibit B


                                                                                   Form 2                                                                                        Page: 1

                                                        Cash Receipts And Disbursements Record
Case Number:           4:08-06956-EWH                                                                Trustee:            Gayle E. Mills (240310)
Case Name:             VARGAS SR., JOHNNY C.                                                         Bank Name:          JPMORGAN CHASE BANK, N.A.
                       VARGAS, ANGELA E.                                                             Account:            ***-*****40-65 - Money Market Account
Taxpayer ID #:         **-***2601                                                                    Blanket Bond:       $53,117,548.00 (per case limit)
Period Ending: 04/22/10                                                                              Separate Bond: N/A

   1             2                            3                                     4                                                5                     6                 7

 Trans.    {Ref #} /                                                                                                             Receipts          Disbursements        Money Market
  Date     Check #              Paid To / Received From              Description of Transaction                 T-Code              $                    $             Account Balance
04/28/09      {12}           Johnny Vargas                   Net BK portion of 2008 tax refunds                 1224-000              1,000.00                                   1,000.00
04/28/09      {12}           Johnny Vargas                   Net BK portion of 2008 tax refunds                 1224-000              1,000.00                                   2,000.00
04/28/09      {12}           Johnny Vargas                   Net BK portion of 2008 tax refunds                 1224-000                 403.00                                  2,403.00
05/29/09         Int         JPMORGAN CHASE BANK, N.A.       Interest posting at 0.0500%                        1270-000                   0.09                                  2,403.09
06/30/09         Int         JPMORGAN CHASE BANK, N.A.       Interest posting at 0.0500%                        1270-000                   0.10                                  2,403.19
07/31/09         Int         JPMORGAN CHASE BANK, N.A.       Interest posting at 0.0500%                        1270-000                   0.10                                  2,403.29
08/31/09         Int         JPMORGAN CHASE BANK, N.A.       Interest posting at 0.0500%                        1270-000                   0.10                                  2,403.39
09/30/09         Int         JPMORGAN CHASE BANK, N.A.       Interest posting at 0.0500%                        1270-000                   0.09                                  2,403.48
10/30/09         Int         JPMORGAN CHASE BANK, N.A.       Interest posting at 0.0500%                        1270-000                   0.09                                  2,403.57
11/30/09         Int         JPMORGAN CHASE BANK, N.A.       Interest posting at 0.0500%                        1270-000                   0.10                                  2,403.67
12/31/09         Int         JPMORGAN CHASE BANK, N.A.       Interest posting at 0.0500%                        1270-000                   0.10                                  2,403.77
01/29/10         Int         JPMORGAN CHASE BANK, N.A.       Interest posting at 0.0500%                        1270-000                   0.09                                  2,403.86
02/26/10         Int         JPMORGAN CHASE BANK, N.A.       Interest posting at 0.0500%                        1270-000                   0.09                                  2,403.95
03/16/10         Int         JPMORGAN CHASE BANK, N.A.       Current Interest Rate is 0.0500%                   1270-000                   0.05                                  2,404.00
03/16/10                     Wire out to BNYM account        Wire out to BNYM account 9200******4065            9999-000             -2,404.00                                       0.00
                             9200******4065

                                                                                  ACCOUNT TOTALS                                           0.00                 0.00               $0.00
                                                                                           Less: Bank Transfers                      -2,404.00                  0.00
                                                                                  Subtotal                                            2,404.00                  0.00
                                                                                           Less: Payments to Debtors                                            0.00
                                                                                  NET Receipts / Disbursements                       $2,404.00                 $0.00




             Case
{} Asset reference(s)      4:08-bk-06956-EWH                  Doc 39 Filed 07/05/10 Entered 07/05/10 Printed:
                                                                                                     13:22:29             Desc
                                                                                                              04/22/2010 12:35 PM                                                 V.12.06
                                                              Main Document    Page 4 of 10
                                                                                                                                                                     Exhibit B


                                                                        Form 2                                                                                       Page: 2

                                                   Cash Receipts And Disbursements Record
Case Number:         4:08-06956-EWH                                                      Trustee:            Gayle E. Mills (240310)
Case Name:           VARGAS SR., JOHNNY C.                                               Bank Name:          JPMORGAN CHASE BANK, N.A.
                     VARGAS, ANGELA E.                                                   Account:            ***-*****40-66 - Checking Account
Taxpayer ID #:       **-***2601                                                          Blanket Bond:       $53,117,548.00 (per case limit)
Period Ending: 04/22/10                                                                  Separate Bond: N/A

   1             2                        3                               4                                              5                     6                 7

 Trans.    {Ref #} /                                                                                                 Receipts          Disbursements          Checking
  Date     Check #            Paid To / Received From       Description of Transaction              T-Code              $                    $             Account Balance

   (No Transactions on File for this Period)                            ACCOUNT TOTALS                                        0.00                  0.00               $0.00
                                                                               Less: Bank Transfers                           0.00                  0.00
                                                                        Subtotal                                              0.00                  0.00
                                                                               Less: Payments to Debtors                                            0.00
                                                                        NET Receipts / Disbursements                         $0.00                 $0.00




             Case
{} Asset reference(s)    4:08-bk-06956-EWH              Doc 39 Filed 07/05/10 Entered 07/05/10 Printed:
                                                                                               13:22:29             Desc
                                                                                                        04/22/2010 12:35 PM                                           V.12.06
                                                        Main Document    Page 5 of 10
                                                                                                                                                                                         Exhibit B


                                                                                        Form 2                                                                                           Page: 3

                                                         Cash Receipts And Disbursements Record
Case Number:           4:08-06956-EWH                                                                     Trustee:            Gayle E. Mills (240310)
Case Name:             VARGAS SR., JOHNNY C.                                                              Bank Name:          The Bank of New York Mellon
                       VARGAS, ANGELA E.                                                                  Account:            9200-******40-65 - Money Market Account
Taxpayer ID #:         **-***2601                                                                         Blanket Bond:       $53,117,548.00 (per case limit)
Period Ending: 04/22/10                                                                                   Separate Bond: N/A

   1             2                            3                                             4                                             5                     6                    7

 Trans.    {Ref #} /                                                                                                                  Receipts          Disbursements           Money Market
  Date     Check #              Paid To / Received From                  Description of Transaction                  T-Code              $                    $                Account Balance
03/16/10                     Wire in from JPMorgan Chase Bank,   Wire in from JPMorgan Chase Bank, N.A.              9999-000              2,404.00                                      2,404.00
                             N.A. account ********4065           account ********4065
03/30/10         Int         The Bank of New York Mellon         Current Interest Rate is 0.0700%                    1270-000                  0.06                                      2,404.06
03/30/10                     To Account #9200******4066          preparing to close case.                            9999-000                                       2,404.06                 0.00

                                                                                        ACCOUNT TOTALS                                     2,404.06                 2,404.06               $0.00
                                                                                                Less: Bank Transfers                       2,404.00                 2,404.06
                                                                                        Subtotal                                               0.06                    0.00
                                                                                                Less: Payments to Debtors                                              0.00
                                                                                        NET Receipts / Disbursements                          $0.06                   $0.00




             Case
{} Asset reference(s)      4:08-bk-06956-EWH                      Doc 39 Filed 07/05/10 Entered 07/05/10 Printed:
                                                                                                         13:22:29             Desc
                                                                                                                  04/22/2010 12:35 PM                                                     V.12.06
                                                                  Main Document    Page 6 of 10
                                                                                                                                                                               Exhibit B


                                                                                Form 2                                                                                         Page: 4

                                                   Cash Receipts And Disbursements Record
Case Number:         4:08-06956-EWH                                                                Trustee:            Gayle E. Mills (240310)
Case Name:           VARGAS SR., JOHNNY C.                                                         Bank Name:          The Bank of New York Mellon
                     VARGAS, ANGELA E.                                                             Account:            9200-******40-66 - Checking Account
Taxpayer ID #:       **-***2601                                                                    Blanket Bond:       $53,117,548.00 (per case limit)
Period Ending: 04/22/10                                                                            Separate Bond: N/A

   1             2                         3                                         4                                             5                     6                 7

 Trans.    {Ref #} /                                                                                                           Receipts          Disbursements          Checking
  Date     Check #            Paid To / Received From             Description of Transaction                  T-Code              $                    $             Account Balance
03/30/10                   From Account #9200******4065   preparing to close case.                            9999-000              2,404.06                                   2,404.06

                                                                               ACCOUNT TOTALS                                       2,404.06                  0.00          $2,404.06
                                                                                         Less: Bank Transfers                       2,404.06                  0.00
                                                                               Subtotal                                                 0.00                  0.00
                                                                                         Less: Payments to Debtors                                            0.00
                                                                               NET Receipts / Disbursements                            $0.00                 $0.00



                                                                                                                                      Net              Net                  Account
                                                                               TOTAL - ALL ACCOUNTS                                 Receipts      Disbursements             Balances

                                                                               MMA # ***-*****40-65                                 2,404.00                  0.00                 0.00
                                                                               Checking # ***-*****40-66                                0.00                  0.00                 0.00
                                                                               MMA # 9200-******40-65                                   0.06                  0.00                 0.00
                                                                               Checking # 9200-******40-66                              0.00                  0.00             2,404.06

                                                                                                                                   $2,404.06                 $0.00          $2,404.06




             Case
{} Asset reference(s)    4:08-bk-06956-EWH                 Doc 39 Filed 07/05/10 Entered 07/05/10 Printed:
                                                                                                  13:22:29             Desc
                                                                                                           04/22/2010 12:35 PM                                                  V.12.06
                                                           Main Document    Page 7 of 10
                                   TRUSTEE'S PROPOSED DISTRIBUTION

                                                                                                     Exhibit D

       Case No.: 4:08-06956-EWH
       Case Name: VARGAS SR., JOHNNY C.
       Trustee Name: Gayle E. Mills




               Claims of secured creditors will be paid as follows:

            Claimant                                                              Proposed Payment
                                             N/A

                  Applications for chapter 7 fees and administrative expenses have been filed as follows:

                        Reason/Applicant                          Fees                   Expenses
          Trustee                Gayle E. Mills                  $            601.02    $             38.54
          Attorney for trustee                                   $                      $
          Appraiser                                              $                      $
          Auctioneer                                             $                      $
          Accountant                                             $                      $
          Special Attorney for
          trustee                                                $                      $
          Charges,               U.S. Bankruptcy Court           $                      $
          Fees,                  United States Trustee           $                      $
          Other                                                  $                      $

                  Applications for prior chapter fees and administrative expenses have been filed as follows:

                        Reason/Applicant                         Fees                    Expenses




UST Form 101-7-TFR (9/1/2009)


Case 4:08-bk-06956-EWH             Doc 39 Filed 07/05/10 Entered 07/05/10 13:22:29                      Desc
                                   Main Document    Page 8 of 10
          Attorney for debtor                                    $                     $
          Attorney for                                           $                     $
          Accountant for                                         $                     $
          Appraiser for                                          $                     $
          Other                                                  $                     $

               In addition to the expenses of administration listed above as may be allowed by the
         Court, priority claims totaling $0.00 must be paid in advance of any dividend to
         general (unsecured) creditors.

               Allowed priority claims are:

       Claim Number        Claimant                           Allowed Amt. of Claim        Proposed Payment
                                            N/A

               The actual distribution to wage claimants included above, if any, will be the proposed
         payment less applicable withholding taxes (which will be remitted to the appropriate taxing
         authorities).


             Timely claims of general (unsecured) creditors totaling $ 79,666.59 have been allowed and
         will be paid pro rata only after all allowed administrative and priority claims have been paid in full.
         The timely allowed general (unsecured) dividend is anticipated to be 2.2 percent.


               Timely allowed general (unsecured) claims are as follows:

       Claim Number        Claimant                           Allowed Amt. of Claim Proposed Payment
          1               DISCOVER BANK                      $         6,854.21     $         151.82
          2               DISCOVER BANK                      $          8,132.59        $            180.13
          4               DR BUNCH                           $            372.44        $               8.25
          5               KEYBANK                            $         17,550.62        $            388.72
                          PYOD LLC its successors and
          6               assigns as assignee of             $          1,280.79        $              28.37
                          PYOD LLC its successors and
          7               assigns as assignee of             $            500.44        $              11.08
                          PYOD LLC its successors and
          8               assigns as assignee of             $            716.36        $              15.87
                          PYOD LLC its successors and
          9               assigns as assignee of             $          1,378.12        $              30.52
                          PYOD LLC its successors and
          10              assigns as assignee of             $          2,276.69        $              50.43
          11              CHASE BANK USA                     $          4,109.68        $              91.02

UST Form 101-7-TFR (9/1/2009)


Case 4:08-bk-06956-EWH            Doc 39 Filed 07/05/10 Entered 07/05/10 13:22:29                       Desc
                                  Main Document    Page 9 of 10
                         American Express Centurion
          12             Bank                                $           2,447.29        $             54.20
                         American Express Centurion
          13             Bank                                $           2,412.17        $             53.43
                         American Express Centurion
          14             Bank                                $           2,938.10        $             65.07
          15             Chase Bank USA,N.A.                 $             132.73        $              2.94
                         Recovery Management
          16             Systems Corporation                 $           1,119.90        $             24.80
                         Recovery Management
          17             Systems Corporation                 $             844.21        $             18.70
                         Recovery Management
          18             Systems Corporation                 $           1,000.00        $             22.15
                         Recovery Management
          19             Systems Corporation                 $           3,646.48        $             80.76
                         FIA CARD SERVICES,
          21             NA/BANK OF AMERICA                  $          21,953.77        $            486.24


             Tardily filed claims of general (unsecured) creditors totaling $ 0.00 have been
         allowed and will be paid pro rata only after all allowed administrative, priority and timely filed
         general (unsecured) claims have been paid in full. The tardily filed claim dividend is anticipated
         to be 0.0 percent.

                Tardily filed general (unsecured) claims are as follows:

        Claim Number      Claimant                               Allowed Amt. of Claim       Proposed Payment
                                           N/A

              Subordinated unsecured claims for fines, penalties, forfeitures, or damages and claims
         ordered subordinated by the Court totaling $ 0.00 have been allowed and will be paid
         pro rata only after all allowed administrative, priority and general (unsecured) claims have been paid
         in full. The dividend for subordinated unsecured claims is anticipated to be 0.0 percent.

               Subordinated unsecured claims for fines, penalties, forfeitures or damages and claims
         ordered subordinated by the Court are as follows:

       Claim Number      Claimant                            Allowed Amt. of Claim       Proposed Payment
                                          N/A
               The amount of surplus returned to the debtor after payment of all claims and interest is
         $ 0.00.



UST Form 101-7-TFR (9/1/2009)


Case 4:08-bk-06956-EWH           Doc 39 Filed 07/05/10 Entered 07/05/10 13:22:29                        Desc
                                 Main Document    Page 10 of 10
